                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                         Case No. 21-00134-01-CR-W-SRB

 MEGAN M. MASSIE,

                                Defendant.

                           GOVERNMENT=S MOTION FOR
                    WRIT OF HABEAS CORPUS AD PROSEQUENDUM

       The Government respectfully requests this Court to order the Clerk to issue a Writ of

Habeas Corpus Ad Prosequendum in the above-entitled case. The Government requests that the

Writ command the Warden/Superintendent of the Topeka Correctional Facility to deliver to the

custody of the United States Marshal, the defendant, MEGAN M. MASSIE, so that he may appear

in the above-entitled case in accordance with the laws of the United States, and after having so

appeared, to be returned to the aforementioned custody as directed by this Court. In support of

this request, the United States avers the following:

                               I. SUGGESTIONS IN SUPPORT

       1.       Defendant is presently incarcerated at the Topeka Correctional Facility

       2.       Defendant was charged by INDICTMENT with Count 1-Conspiracy to Distribute

       Meth and Count 2 thru 15-Distribution of Meth.

       3.       Defendant does not have a scheduled court appearance.




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                                    II. CONCLUSION

       WHEREFORE, the Government respectfully requests this Court order the Clerk to issue

a Writ of Habeas Corpus Ad Prosequendum in the above entitled case.

                                                   Respectfully submitted,

                                                   Teresa A. Moore
                                                   Acting United States Attorney

                                          By       /s/ Maureen A. Brackett
                                                   Maureen A. Brackett
                                                   Assistant United States Attorney

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